Case 8:16-cv-00686-AG-DFM Document 211 Filed 03/29/17 Page 1 of 4 Page ID #:4453
Case 8:16-cv-00686-AG-DFM Document 211 Filed 03/29/17 Page 2 of 4 Page ID #:4454
Case 8:16-cv-00686-AG-DFM Document 211 Filed 03/29/17 Page 3 of 4 Page ID #:4455




                  March 29, 2017




                  March 29, 2017




                  March 29, 2017


                  March 29, 2017
Case 8:16-cv-00686-AG-DFM Document 211 Filed 03/29/17 Page 4 of 4 Page ID #:4456




                                                   Costa Mesa
                                                    Kristopher P. Diulio
